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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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     VALENTIN RAMIREZ-CARDINEZ,              CIV. NO. 2:13-2498 WBS
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                                             CR.     NO. 2:09-0380 WBS
16                Petitioner,
                                             ORDER
17        v.

18   UNITED STATES OF AMERICA,

19                Respondent.

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23             Petitioner Valentin Ramirez-Cardinez, a prisoner

24   proceeding pro se, indicates that he did not receive a copy of

25   the United States’ motion to dismiss and opposition to his motion

26   pursuant to 28 U.S.C. § 2255.      (Docket No. 266.)      The United

27   States shall seerve a copy of its motion and opposition (Docket

28   No. 265) along with a copy this Order to petitioner within five
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 1   days of the date of this Order.      Petitioner shall file any reply

 2   in support of his § 2255 motion or opposition to the United

 3   States’ motion to dismiss no later than April 11, 2014.           The

 4   court will then take the motions under submission and inform the

 5   parties if oral argument or further proceedings are necessary.

 6              IT IS SO ORDERED.

 7   Dated:   February 26, 2014

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